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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   CHARLESTON DIVISION

IN RE:      BOSTON SCIENTIFIC CORP.,
            PELVIC REPAIR SYSTEM
            PRODUCTS LIABILITY LITIGATION                            MDL No. 2326


THIS DOCUMENT RELATES TO CASES
IDENTIFIED ON EXHIBIT A

                                    TRANSFER ORDER
                                 FOR CASES ON EXHIBIT A

         The individual cases on Exhibit A were directly filed in the United States District Court

for the Southern District of West Virginia and are related to MDL 2326 (“BSC MDL”), 2:12-md-

2326, one of seven MDLs assigned to me by the Judicial Panel on Multidistrict Litigation and

totaling over 100,000 cases since inception. Of the approximately 26,085 cases originally filed in

or transferred to the BSC MDL, 318 remain. Of the remaining 318 cases, 19 are listed on Exhibit

A and are ready to be transferred to the appropriate jurisdiction. In particular, the time to conduct

discovery is complete in the cases on Exhibit A, and the parties have had time to file dispositive

and Daubert motions, responses and replies. For the convenience of the parties and in order to

promote the final resolution of these cases, it appears to the court that the cases would be more

expeditiously concluded in the venues from which they arise. The parties have indicated

collectively to the court or the court has determined that proper venue resides in the United States

District Courts identified in Exhibit A. Upon transfer, I urge the receiving court to immediately

set these cases for trial without reopening discovery. Further discovery will only result in unjust
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delay. Extensive development of these cases over a period of years has made such further action

completely unnecessary.


          Accordingly, pursuant to 28 U.S.C. § 1404(a), it is ORDERED that on May 12, 2020 (14

days after the entry of the order) (hereinafter the “Transfer Date”) the cases identified on Exhibit

A that are still pending shall be transferred to the United States District Courts identified on Exhibit

A. On or before May 11, 2020 (13 days after the date of entry of the order), the parties are

ORDERED to confer and to file in each individual member case identified in Exhibit A, all

documents from the main MDL that the parties jointly deem relevant to constitute an appropriate

record for the receiving court to consider. When filing the documents from the main MDL, the

parties are directed to use the CM/ECF event entitled “Designation of Record for MDL Transfers”

(available under Civil > Other Filings > Other Documents). When completing the event, the “Main

Document” should be the list of joint designations from the main MDL, and the “Attachments”

should be each individual document on the joint designation list with the “Description” being the

ECF number and a brief description of the document (i.e. ECF 96 – Joint Stipulation of Experts).

All cases on Exhibit A that are pending on the Transfer Date shall be transferred, and the parties

shall bear the consequences in the receiving court of any failure to prepare an appropriate record

as directed in this order. The parties and the receiving court are advised that all Pretrial Orders

entered     in    this   matter   are   available   for   review    on    the   court’s   website     at

www.wvsd.uscourts.gov/MDL/boston/orders.html and the master docket sheet can be found on

this court’s CM/ECF at 2:12-md-2326. Finally, the court advises the parties that while the docket

of the individual case will transfer to the receiving court, it is the parties’ responsibility to follow

the receiving court’s procedure for identifying any individual motions that remain pending and in

need of ruling.

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       On the Transfer Date, the Clerk is hereby DIRECTED to use the appropriate function in

CM/ECF to extract each member case listed on Exhibit A that remains pending and transfer it to

the corresponding United States District Court listed on Exhibit A. After transfer of each member

case listed in Exhibit A that is not dismissed prior to the Transfer Date, the Clerk is DIRECTED

to formally close the case and strike it from the docket of this court.


       The court further DIRECTS that a copy of this order and Exhibit A be filed in every case

listed on Exhibit A and sent to counsel of record or any unrepresented party for the cases listed on

Exhibit A.


                                               ENTER: April 28, 2020




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                                       EXHIBIT A


       Civil Action        Case Style                                         Venue
 1     2:12-cv-07818       Salas et al v. Boston Scientific Corporation       Florida - SD
 2     2:13-cv-02188       Marlin v. Boston Scientific Corporation            Nebraska
 3     2:13-cv-05920       Grube et al v. Boston Scientific Corporation       Delaware
 4     2:13-cv-16364       Antonucci et al v. Boston Scientific Corporation   Pennsylvania - WD
 5     2:13-cv-20120       Tovar v. Boston Scientific Corporation             Washington - WD
 6     2:13-cv-20126       Ross v. Boston Scientific Corporation et al        Wisconsin - ED
 7     2:13-cv-21153       Lavore v. Boston Scientific Corporation            Pennsylvania - MD
 8     2:13-cv-21720       Barnhill v. Boston Scientific Corporation          Nebraska
 9     2:13-cv-24256       Wells et al v. Boston Scientific Corporation       Kentucky - WD
10     2:13-cv-24260       Wilson et al v. Boston Scientific Corporation      Tennessee - ED
11     2:13-cv-32018       Engleka v. Boston Scientific Corporation           Arizona
12     2:14-cv-19248       Rose et al v. Boston Scientific Corporation        Washington - WD
13     2:15-cv-02135       Barker v. Boston Scientific Corporation            Illinois - CD
14     2:15-cv-03486       Castillo v. Boston Scientific Corporation          Texas - WD
15     2:16-cv-00210       Sather v. Boston Scientific Corporation            California - CD
16     2:16-cv-01311       Bayless v. Boston Scientific Corporation et al     Florida - MD
17     2:16-cv-05356       Curry v. Boston Scientific Corporation             California - CD
18     2:16-cv-08850       Mirtorabi v. Boston Scientific Corporation         California - CD
19     2:16-cv-12363       Nairn et al v. Boston Scientific Corporation       Massachuetts
